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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 MELISSA HICKSON, Individually and  )
 MELISSA HICKSON as the DEPENDENT   )
 ADMINISTRATOR of the ESTATE OF     )
 MICHAEL HICKSON, DECEASED, and     )
 MELISSA HICKSON AS NEXT FRIEND     )
 OF MACKENZIE HICKSON; MACEO        )
 HICKSON AND MADISON HICKSON, all   )
 minors, AND MARQUES HICKSON,       )
                                    )
                        Plaintiffs, )
                    v.              )
                                    )                Cause No. 1:21-cv-514-LY
 ST. DAVID'S HEALTHCARE             )
 PARTNERSHIP, L.P., LLP, doing      )
 business as ST. DAVID’S SOUTH      )
 AUSTIN MEDICAL CENTER, DR.         )
 DEVRY ANDERSON, INDIVIDUALLY,      )
 HOSPITAL INTERNISTS OF TEXAS, DR. )
 CARLYE MABRY CANTU, Individually,  )
 DR. VIET VO, Individually,         )
                                    )
                        Defendants. )


                          MOTION TO WITHDRAW AS COUNSEL
To: CM/ECF Service List
       Undersigned counsel for the Plaintiff moves to withdraw the appearance of Andrés J.

Gallegos, of HUGHES SOCOL PIERS RESNICK & DYM, LTD. Plaintiff will continue to be

represented by remaining counsel of record.

                                                  Respectfully submitted,
                                                  By: /s/ Jennifer M. Sender


Jennifer M. Sender
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                                CERTIFICATE OF SERVICE

I, Jennifer M. Sender, an attorney, certify that on January 8, 2024, the aforementioned Notice of
Withdrawal of Counsel was uploaded for filing electronically via the Court’s CM/ECF system
which will serve a copy to the following parties:




                                      By: /s/ Jennifer M. Sender
                                      Jennifer M. Sender
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